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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       EASTERN DIVISION AT COLUMBUS

  In re: OHIO EXECUTION
   PROTOCOL LITIGATION,

                                                      :       Case No. 2:11-cv-1016

                                                              Chief Judge Edmund A. Sargus, Jr.
                                                              Magistrate Judge Michael R. Merz

  This Notice relates to All Plaintiffs




                  ORDER TO CLARIFY STATUS OF COUNSEL


         This capital § 1983 case is before the Court sua sponte. The case came on for scheduling

  conference by telephone on April 17, 2018, in the wake of the filing on April 12, 2018, of

  individual supplemental complaints on behalf of many but not all Plaintiffs named in the Fourth

  Amended Omnibus Complaint.



  Elwood Jones and Siddique Hasan



         Elwood Jones is listed on the docket as a Plaintiff with Allen Bohnert as his Lead Attorney

  and with Carol Wright and Erin Barnhart as co-counsel. The last mention of Mr. Jones on the

  docket is as a party receiving a gubernatorial reprieve (ECF No. 1193; September 1, 2017). During

  the conference, Ms. Barnhart spoke for Mr. Jones, saying:




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                 This is Erin Barnhart. And so Elwood Jones has never been on either
                 a supplemental individual complaint or an amended omnibus
                 complaint, but I think his inclusion in certain docket entries was just
                 inadvertent, but his intention is not to be part of this lawsuit.

  (Transcript, PageID _____). So far as the Court is able to determine, Elwood Jones has never been

  dismissed as a party. Ms. Barnhart should either move to dismiss Jones or direct the Court’s

  attention to some prior entry which dismissed him.

         Siddique Hasan is Plaintiff who has been represented by attorney Larry Komp. Mr. Komp

  has been replaced by Shawn Nolan and Stuart Lev of the Capital Habeas Unit of the Eastern

  District of Pennsylvania. Their recent Motion to Voluntarily Dismiss Hasan from this case without

  prejudice (ECF No. 1470) was denied (ECF No. 1557). In light of the possible re-scheduling of

  summary judgment practice in the case, the Magistrate Judge sua sponte reconsiders that decision

  and GRANTS Hasan’s Motion to Dismiss.



  Plaintiffs Not Accounted For



         Plaintiff Stanley Adams has been represented in this case by attorney Spiros Cocoves who

  signed the Fourth Amended Omnibus Complaint on his behalf (ECF No. 1252, PageID 45883).

  Mr. Cocoves previously filed individual complaints on behalf of Adams (ECF Nos. 191 and 625).

  However Mr. Cocoves did not file a new individual supplemental complaint on behalf of Adams

  after the Fourth Amended Omnibus Complaint, did not participate in the scheduling conference,

  and has not otherwise responded to the Notice to Counsel of Record (ECF No. 1560), which

  provides: “All counsel of record in the case are ORDERED to examine the list of omitted

  individual supplemental complaints set forth above and advise the Court and Mr. Bohnert

  forthwith of the status of their representation of any of those parties.” (Id. at PageID 69431).

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         Plaintiffs Jeronique Cunningham, Archie Dixon, and Edward Lang have been represented

  by attorney Michael Benza who signed the Fourth Amended Omnibus Complaint on their behalf

  (ECF No. 1252, PageID 45884). However, Mr. Benza did not file an individual supplemental

  complaint on behalf of any of these Plaintiffs, did not participate in the scheduling conference, and

  has not otherwise responded to the Notice to Counsel of Record.

         Plaintiff David Allen has been represented in this case by attorneys John J. Ricotta and

  Henry Hilow who signed the Fourth Amended Omnibus Complaint on his behalf (ECF No. 1252,

  PageID 45885-86). However, they did not file an individual supplemental complaint on behalf of

  Allen, did not participate in the scheduling conference, and have not otherwise responded to the

  Notice to Counsel of Record.

         Plaintiff Cleveland Jackson has been represented by attorney John B. Gibbons who signed

  the Fourth Amended Omnibus Complaint on his behalf (ECF No. 1252, PageID 45882). However,

  Mr. Gibbons did not file an individual supplemental complaint on behalf of Cleveland Jackson,

  did not participate in the scheduling conference, and has not otherwise responded to the Notice to

  Counsel of Record.

         Plaintiff Michael Scott has been represented in this case by attorneys David Doughten and

  John Parker who signed the Fourth Amended Omnibus Complaint on his behalf (ECF No. 1252,

  PageID 45881 & 45884). However, they did not file an individual supplemental complaint on his

  behalf, did not participate in the scheduling conference, and have not otherwise responded to the

  Notice to Counsel of Record.

         Messrs. Cocoves, Benza, Ricotta, Hilow, Gibbons, Doughten, and Parker shall forthwith

  advise the Court of the status of their representation of the clients on whose behalf they signed the

  Fourth Amended Omnibus Complaint. Failure to respond forthwith may result in sanctions.



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  Consistent Usage Regarding Attorney Designation



         The local rules of this Court provide two different, mutually exclusive designations for

  attorneys who enter appearances in a case.

         S. D. Ohio Civ. R. 83.4 (a) provides each case shall have one “trial attorney”:

                Designation and Responsibilities [of the Trial Attorney]. Unless
                otherwise ordered, in all actions filed in, transferred to, or removed
                to this Court, all parties other than pro se parties must be represented
                at all times by a “trial attorney” who is a permanent member in good
                standing of the bar of this Court. Each filing made on behalf of such
                parties shall identify and be signed by the trial attorney. The trial
                attorney shall attend all hearings, conferences, and the trial itself
                unless excused by the Court from doing so. Admission pro hac vice
                does not entitle an attorney to appear as a party’s trial attorney, but
                the Court may, in its discretion and upon motion that shows good
                cause, permit an attorney who has been so admitted to act as a trial
                attorney.

         S. D. Ohio Civ. R. 83.4 (d) provides the other designation:

                (d) Co-Counsel. Any attorney who has appeared in a case in any
                capacity other than as trial attorney is considered to be co-counsel
                for the party or parties on whose behalf the appearance has been
                entered. Co-counsel may withdraw by way of a notice of withdrawal
                signed by the withdrawing attorney and by the trial attorney for the
                party on whose behalf co-counsel has appeared. By signing such a
                notice, the trial attorney represents that the client has authorized the
                withdrawal. If the trial attorney is unwilling or unable to sign such a
                notice, co-counsel who wish to withdraw shall file a motion that
                complies with subsection (c)(2) of this Rule.

         Usage by counsel in filings in this case has not been consistent with this Rule. For example,

  examination of the Fourth Amended Omnibus Complaint reveals counsel designating themselves



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  in the signature line as “counsel” or “co-counsel.” 1 In several, more than one attorney signed as

  “counsel” for the same Plaintiff, where S. D. Ohio Civ. R. 83.4(a) contemplates there will be only

  one “trial attorney” for each party. In another recent filing, an attorney referred to herself as “trial

  counsel” in both the body of a Motion and in the signature line, but the caption reads “Notice of

  Substitution of Trial Attorney.”

          None of this is written in any way to impugn the professionalism of any attorney appearing

  in the case. But in order to avoid confusion of the Magistrate Judge’s aging judicial mind and to

  be certain that the allocation of responsibility is clear for clients whose lives are at stake, the Court

  ORDERS that the local rules be strictly complied with in all future filings. To accomplish this

  goal, each attorney who has entered an appearance in the case for any Plaintiff will forthwith file

  with the Court a list of those clients for whom she or he is the trial attorney and those clients for

  whom she or he is co-counsel. All future filings shall be signed by the trial attorney. In the event

  that attorneys file conflicting lists, the Court reserves the authority to designate one attorney as the

  trial attorney for each Plaintiff.




  Liaison Counsel



          On December 5, 2011, in the Order creating this consolidated case, Judge Frost provided:




  1
   Attorney Stephen Kissinger designates himself as “trial counsel” for Plaintiffs Hoffner and Lott (ECF No. 1252,
  PageID 45887).

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                 Appointment of lead or liaison counsel. Part of the proposal to this
                 Court was the appointment of lead counsel for Plaintiffs. In light of
                 the informal discussions had with counsel, the Court hereby accepts
                 the proposal insofar as it recognizes counsel Allen Bohnert of the
                 Office of the Federal Public Defender as lead or liaison co-counsel
                 in this litigation. This simply means that Bohnert shall serve as the
                 point-of-contact for all interactions with the Court or Defendants’
                 counsel related to his clients, with Bohnert solely acting as
                 spokesperson for Plaintiffs’ counsel in matters of joint or common
                 action before the Court. This absolutely does not limit the right of
                 other counsel to be heard on matters not susceptible to joint or
                 common action or when genuine and truly substantial divergence of
                 opinion exists among counsel.


  (ECF No. 11, PageID 483). Mr. Bohnert has performed admirably in this role, but this paragraph

  is the role’s only delimitation. As he has pointed out, that Order in itself does not make him trial

  attorney for any of the Plaintiffs or responsible for any particular filing on behalf of a Plaintiff. If

  Mr. Bohnert believes clarification or amplification of that role would be useful, he is invited to

  submit a proposed order.



  April 18, 2018.

                                                                    s/ Michael R. Merz
                                                                   United States Magistrate Judge




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